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 1   Vahe Khojayan (SBN 261996)
 2   YK LAW, LLP
     445 S. Figueroa Street, Ste 2280
 3
     Los Angeles, CA 90071
 4   Tel: (213) 401-0970
     Fax: (213) 529-3044
 5
     Email: vkhojayan@yklaw.us
 6

 7   Attorneys for debtor-in possession
     OKAYSOU CORPORATION
 8

 9

10

11                        UNITED STATES BANKRUPTCY COURT
                  CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION
12

13                                                       CASE NUMBER: 6:23-bk-11535-MH
     In re:
14
                                                         Chapter 11
15
      OKAYSOU CORPORATION
16
                                 Debtor-in-possession DECLARATIONS OF DAVID
17                                                    MICKELSON IN SUPPORT OF
18
                                                      AMENDED SCHEDULES

19

20

21
     I, David Mickelson declare:
22

23       1. I am a person over the age of eighteen. I have personal knowledge of the facts stated
24            herein and if called as a witness could and would testify to the accuracy of these facts.
25       2. I have been retained as chief restructuring officer (“CRO”) for Okaysou Corporation

26
              (“Debtor”)
         3.   In preparing the enclosed Amendments to Schedules A/B and Statement of Financial
27
              Affairs for Non-Individuals Filing for Bankruptcy (collectively “Amended Schedules and
28




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 1        Statements”), I have reviewed Debtor’s bank statements, 2021 tax return and have
 2        consulted with Debtor’s counsel regarding Debtor’s assets and liabilities.
 3     4. While every effort has been made to ensure the accuracy of the Amended Schedules and
 4        Statements, they were prepared using the limited information available to me and based

 5        upon my still ongoing reconstruction of Debtor’s finances.
       5. Additionally, it is my understanding that Debtor still lacks access to its accounts with
 6
          Shopify and Amazon, and therefore I have very limited information concerning these
 7
          accounts and Debtor’s ongoing sales.
 8
       6. While Debtor’s intangible assets are being disclosed in the amended Schedules A/B, the
 9
          valuation of these assets is still uncertain. A professional appraisal will be needed to
10
          accurately determine the valuation of these assets.
11     7. Based on the fact that I have not completed my reconstruction of Debtor’s financials, I
12        have not provided values for some of the assets listed in the debtor’s schedules. The
13        Amended Schedules and Statements may be amended once I have a better understanding
14        of Debtor’s business operations and full access to its Amazon and Shopify accounts, and

15        more information becomes available to me.

16
          I declare under penalty of perjury under the laws of the United States that the foregoing is
17
          true and correct.
18

19        Date: 06/05/2023                                                _____________________
20                                                                        David Mickelson
21

22

23

24

25

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28




                                                    -2-
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Fill in this information to identify the case:

Debtor name         Okaysou Corporation

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)       6:23-bk-11535
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     JP Morgan Chase Account                                                                                                         $28,722.21


                   Potential interest in funds deposited in
                   bank accounts of Souxing Technology
                   Co., Ltd., and Souxing Information
                   Technology (Chongqing) Co., Ltd., and
                   Fudong Cao, that belong to the Debtor.
          3.2.     Value unknown                                                                                                                    Unknown



4.        Other cash equivalents (Identify all)


          4.1.     Funds in Debtor's Amazon Account (estimated as of petition date)                                                              $112,000.00




          4.2.     Funds in Debtor's Shopify Account                                                                                                Unknown



5.        Total of Part 1.
                                                                                                                                             $140,722.21
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                     page 1
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Debtor          Okaysou Corporation                                                    Case number (If known) 6:23-bk-11535
                Name



          No. Go to Part 3.
          Yes Fill in the information below.


Part 3:         Accounts receivable
10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes Fill in the information below.


Part 4:         Investments
13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes Fill in the information below.


Part 5:         Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes Fill in the information below.

            General description                Date of the last      Net book value of         Valuation method used   Current value of
                                               physical inventory    debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.         Raw materials

20.         Work in progress

21.         Finished goods, including goods held for resale
            Air purifiers and filters
            (estimated)                                                    $1,600,000.00       N/A                            $1,600,000.00



22.         Other inventory or supplies
            Possible interest in
            products with Adeaface
            brand.                                                              Unknown                                                $0.00


            Inventory funds and
            other tangible and
            intangible goods in
            control of Atomee Corp.                                             Unknown                                           Unknown



23.         Total of Part 5.
                                                                                                                          $1,600,000.00
            Add lines 19 through 22. Copy the total to line 84.

24.         Is any of the property listed in Part 5 perishable?
                No
                Yes

25.         Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                           Valuation method                         Current Value

26.         Has any of the property listed in Part 5 been appraised by a professional within the last year?
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                 page 2
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Debtor          Okaysou Corporation                                                           Case number (If known) 6:23-bk-11535
                Name


                No
                Yes

Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

          No. Go to Part 7.
          Yes Fill in the information below.


Part 7:         Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

          No. Go to Part 8.
          Yes Fill in the information below.

            General description                                            Net book value of          Valuation method used   Current value of
                                                                           debtor's interest          for current value       debtor's interest
                                                                           (Where available)

39.         Office furniture
            Office furnishings, equipment, etc.                                        $2000.00                                          $2,000.00



40.         Office fixtures

41.         Office equipment, including all computer equipment and
            communication systems equipment and software

42.         Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

43.         Total of Part 7.                                                                                                             $2,000.00
            Add lines 39 through 42. Copy the total to line 86.

44.         Is a depreciation schedule available for any of the property listed in Part 7?
                 No
                 Yes

45.         Has any of the property listed in Part 7 been appraised by a professional within the last year?
                No
                Yes

Part 8:         Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes Fill in the information below.


Part 9:         Real property
54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes Fill in the information below.


Part 10:        Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

          No. Go to Part 11.
          Yes Fill in the information below.
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                       page 3
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            Name



         General description                                       Net book value of       Valuation method used        Current value of
                                                                   debtor's interest       for current value            debtor's interest
                                                                   (Where available)

60.      Patents, copyrights, trademarks, and trade secrets
         Trademark for "Adeaface" Registration
         Number 6182734                                                     Unknown                                                Unknown


         Trademark for "Okaysou" registration number
         5708262                                                            Unknown                                                Unknown



61.      Internet domain names and websites

62.      Licenses, franchises, and royalties

63.      Customer lists, mailing lists, or other compilations

64.      Other intangibles, or intellectual property
         Trademark Registration Number 5708262, for
         mark Okaysou                                                       Unknown                                                Unknown


         Domain names and websites owned by the
         Debtor:
         https://www.okaysou.com
         https://okaysoubrand.com/
         https://okaysoustore.com/
         https://shopokaysou.com/
         https://okaysoupro.com/
         https://www.buyokaysou.com/
         https://www.okaysouseller.com/                                     Unknown                                                Unknown


         Websites belonging to the bankruptcy estate
         ww.atomee.com                                                      Unknown                                                Unknown


         Amazon.com Okaysou store                                           Unknown                                                Unknown


         Nonprovisional design patent application
         number 29/821,808, Atty Docket No
         OKS-USD-i01                                                        Unknown                                                Unknown

         Nonprovisional Design patent application
         Number 29/822,849, Atty docket No
         OKS0001USD                                                         Unknown                                                Unknown



65.      Goodwill
         Business goodwill (estimated)                                      Unknown        Revenue based                           Unknown



66.      Total of Part 10.
         Add lines 60 through 65. Copy the total to line 89.

67.      Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor        Okaysou Corporation                                                          Case number (If known) 6:23-bk-11535
              Name


               Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Turnover / Avoidance actions against Souxing
           Technology Co., Ltd., and Souxing Information
           Technology (Chongqing) Co., Ltd., and Fudong Cao                                                                         $765,000.00
           Nature of claim         Avoidance Actions, preferential
                                   transfers
           Amount requested                      $765,000.00



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.
                                                                                                                                  $765,000.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                     page 5
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Debtor          Okaysou Corporation                                                                                 Case number (If known) 6:23-bk-11535
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                             Current value of                     Current value of real
                                                                                                   personal property                    property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $140,722.21

81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

83. Investments. Copy line 17, Part 4.                                                                                     $0.00

84. Inventory. Copy line 23, Part 5.                                                                          $1,600,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                           $2,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                   +                 $765,000.00

91. Total. Add lines 80 through 90 for each column                                                        $2,507,722.21             + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,507,722.21




Official Form 206A/B                                             Schedule A/B Assets - Real and Personal Property                                                         page 6
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Fill in this information to identify the case:

Debtor name         Okaysou Corporation

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)    6:23-bk-11535
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                                Operating a business                           $1,241,000.00
      From 1/01/2023 to Filing Date
                                                                                      Other


      For prior year:                                                                      Operating a business                           $4,829,000.00
      From 1/01/2022 to 12/31/2022
                                                                                      Other


      For year before that:                                                                Operating a business                           $4,469,977.00
      From 1/01/2021 to 12/31/2021
                                                                                      Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor       Okaysou Corporation                                                            Case number (if known) 6:23-bk-11535




          None.

      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.1.
              Wakool Transport                                 01/15/2023 -                     $57,595.00            Secured debt
              19130 San Jose Ave,                              04/17/2023                                             Unsecured loan repayments
              Rowland Heights, CA 91748                                                                               Suppliers or vendors
                                                                                                                      Services
                                                                                                                      Other


      3.2.
              Cansail Fulfillment                              01/15/2023 -                     $72,294.60            Secured debt
              13828 Mountain Ave,                              04/17/2023                                             Unsecured loan repayments
              Chino, CA 91710                                                                                         Suppliers or vendors
                                                                                                                      Services
                                                                                                                      Other


      3.3.
              JP Morgan Chase Bank, N.A.                       01/15/2023 -                     $39,560.09            Secured debt
              c/o Robertson Anschutz Schneid &                 04/17/2023                                             Unsecured loan repayments
              Crande                                                                                                  Suppliers or vendors
              6409 Congress Ave, St 100                                                                               Services
              Boca Raton, FL 33487
                                                                                                                      Other


      3.4.
              WebBank / Shopify Capital                        01/15/2023 -                     $17,089.26            Secured debt
              100 Shockoe Slip, 2nd Floor                      4/17/2023                                              Unsecured loan repayments
              Richmond, VA 23219                                                                                      Suppliers or vendors
                                                                                                                      Services
                                                                                                                      Other


      3.5.
              Cixi Belian Electrical Appliance Co., Lt         01/15/2023 -                    $198,745.00            Secured debt
              No 28th Haiton Road,                             04/17/2023                                             Unsecured loan repayments
              Guanhaiwei Town, CIXI, China 28                                                                         Suppliers or vendors
                                                                                                                      Services
                                                                                                                      Other


      3.6.
              Hanking Plastic Manufactory Co., Ltd             01/15/2023 -                    $167,745.00            Secured debt
              Pingdong Viilage, Pingdi Town,                   04/17/2023                                             Unsecured loan repayments
              Longgang District                                                                                       Suppliers or vendors
              Shenzhen 518117 China                                                                                   Services
                                                                                                                      Other


      3.7.
              HealthLed Corporation Limited                    01/15/2023 -                    $302,003.65            Secured debt
              Building 1, Yongxin industry Park                04/17/2023                                             Unsecured loan repayments
              No. 89                                                                                                  Suppliers or vendors
              891                                                                                                     Services
                                                                                                                      Other


      3.8.
              Fedex                                            01/15/2023 -                     $27,042.88            Secured debt
              3965 Airways, Module G                           04/17/2023                                             Unsecured loan repayments
              4th Floor                                                                                               Suppliers or vendors
              Seattle, WA 98116                                                                                       Services
                                                                                                                      Other


Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 2
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Debtor       Okaysou Corporation                                                                Case number (if known) 6:23-bk-11535



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.9.
              UPS                                                  01/15/2023 -                       $6,336.00               Secured debt
              PO box 650116                                        04/17/2023                                                 Unsecured loan repayments
              Dallas, TX 75265-0116                                                                                           Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other

      3.10
              Rexford Industrial                                   01/15/2023 –                       $9,931.02               Secured debt
              11620 Wilshire Blvd, #1000                           04/17/2023                                                 Unsecured loan repayments
                                                                                                                              Suppliers or vendors
              Los Angeles, CA 90025
                                                                                                                              Services
                                                                                                                              Other Lease payments


      3.10
              Amazon Capital Services                              01/15/2023 –                    $242,493.99                Secured debt
              PO Box 84837                                         04/17/2023                                                 Unsecured loan repayments
                                                                                                                              Suppliers or vendors
              Seattle, WA 98124
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Henry Ma                                             April 2022 -                     $54,000.00           Salary
                                                                   April 2023
              President of Debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.



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Debtor        Okaysou Corporation                                                                Case number (if known) 6:23-bk-11535




          None.

              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.     Arovast Corporation et al v.           Patent                       United States District Court                   Pending
              Okaysou Corporation et al               infringement                 411 W. 4th Street                              On appeal
              8:22-cv-01037-MRW                                                    Santa Ana, CA 92701                            Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                             Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss              Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address
      11.1.    YK LAW, LLP
               445 S. Figueroa Street, Ste
               2280
               Los Angeles, CA 90071                    Attorney Fees                                                 04/13/2023                  $30,000.00

               Email or website address
               vkhojayan@yklaw.us

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
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    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

            None.

      Name of trust or device                              Describe any property transferred                     Dates transfers            Total amount or
                                                                                                                 were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

            None.

              Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
              Address                                   payments received or debts paid in exchange                was made                          value
      13.1 Souxing Information
      .    Technology Company
              #56, Ruitian Road, Yuzhong
              Dist                                                                                                 01/012022 -
              Chongqing China 56                        $765,000 at least                                          04/17/2023                  $765,000.00

              Relationship to debtor
           affiliate entity of debtor (see
           response to Q30 below)
      13.2 YK Law, LLP                                  $107,985.00 in legal fees paid in relation                 06/10/2022 -                $107,985.00
           445 S. Figueroa Street,                      with the case of Arovast Corporation v.                    04/15/2023
           Ste 2280                                     Okaysou Corporation
           Los Angeles, CA 90071



  Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

            2010 Napoli Court, Unit 103, Corona, CA 92881 (Debtor's principals residence address, used as a reference address)

            201 E. Chapman Ave, 43G Pacentia, CA (Debtor's principals residence address, used as a reference address)
            Does not apply

               Address                                                                                               Dates of occupancy
                                                                                                                     From-To

Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services               If debtor provides
                                                        the debtor provides                                                        meals and housing,
                                                                                                                                   number of patients in
                                                                                                                                   debtor’s care

Part 9:      Personally Identifiable Information




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16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
              Financial Institution name and            Last 4 digits of           Type of account or           Date account was                 Last balance
              Address                                   account number             instrument                   closed, sold,                before closing or
                                                                                                                moved, or                             transfer
                                                                                                                transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

      Depository institution name and address                Names of anyone with                  Description of the contents                Does debtor
                                                             access to it                                                                     still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

      Facility name and address                              Names of anyone with                  Description of the contents                Does debtor
                                                             access to it                                                                     still have it?
      Cansail Fulfillment                                    Employees of Cansail                  Air Purifiers, filters                          No
      13828 Mountain Ave,                                                                                                                          Yes
      Chino, CA 91710




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      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?
      Amazon Fulfillment Centers Located at                  Employees of Amazon                  Air purifiers, filters                        No
      4550 Nexus Way, Las Vegas, NV 89115,                                                                                                      Yes
      3315 N. Kelsey Street, Visalia, CA
      93291-1882
      6000 Enterprise Ave, Schertz, TX
      78154,
      225 Infinity Drive NW, Charleston, TN
      37310
      6001 Bethlehem Blvd., Baltimore, MD
      21219,
      3200 E. Sawyer Road, Republic, MO
      65738
      635 International Blvd, Rock Tavern,
      NY 12575,
      402 John Dodd Rd, Spartanburg, SC
      29303
      800 N. 75th Ave, Phoenix, AZ
      85043-2101,
      7817 Greenbriar Road, Madison AL
      35756
      4930 Allbaugh Drive, Sacramento, CA
      95837
      16920 W. Commerce Drive, Goodyear,
      AZ 85338
      2496 W. Walnut Ave, Rialto, CA 92376
      188 mountain House Parkway, Tracy,
      CA 95377




Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

         None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?
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           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

           None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    Souxing Information                      Chinese counterpart of the debtor.                EIN:         unknown
            Technology Co., Ltd.                     Entity at one point in control of the
            #56, Ruitian Road, Yuzhong               debtor with management and                        From-To      unknown - Present
            Dist                                     operation intertwined with the
            Chongqing China                          debtor. entity was in financial
            56                                       control of the Debtor



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Capital Premier CPA                                                                                                2021 - present
                    3284 E. Lavender Drive,
                    Ontario, CA 91762

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

               None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

               None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

               None

      Name and address

27. Inventories
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    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                    Date of inventory       The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Hao Ma                                 2010 Napoli Ct, # 103                               Director and Officer of Debtor        100
                                             Corona, CA 92881

      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Fudong Cao                             #56 Ruitian Road,                                   Alleged part owner/officer of         Unknown.
                                             Yuzhong District                                    the debtor. Debtor does not           There was
                                             Chongqing China, 56                                 see any shares issues to              testimony by
                                                                                                 Fudong Cao, but Mr. Cao had           Debtor's CEO
                                                                                                 effectively exercised financial       that Fudong
                                                                                                 control over debtor's affairs         Cao owned
                                                                                                 pre-petition                          44.6 %
                                                                                                                                       interest at
                                                                                                                                       some point.
      Name                                   Address                                             Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Tiansai Pang                           #303 Renxing Road, Yubei Dist                       Alleged part owner/officer of         Unknown.
                                             Chongqing, Ch 303                                   the debtor. Debtor does not           There was
                                                                                                 see any shares issues to              testimony by
                                                                                                 Tiansai Pang but Mr. Pang             Debtor's CEO
                                                                                                 held a position of CFO of             that Tiansai
                                                                                                 Debtor                                Pang owned
                                                                                                                                       % interest at
                                                                                                                                       some point.


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any        Period during which
                                                                                                 interest                          position or interest
                                                                                                                                   was held
      Tiansai Pang                           #303 Renxing Rd., Yubein District                   Secretary                         03/07/2021 -
                                             Chongqing, China 303                                                                  unknown

      Name                                   Address                                             Position and nature of any        Period during which
                                                                                                 interest                          position or interest
                                                                                                                                   was held
      Fuding Cao                             #56, Ruitian Road, Yuzhong Dist                     Chief financial officer           03/07/2021 -
                                             Chongqing, China 56                                                                   unknown

      Name                                   Address                                             Position and nature of any        Period during which
                                                                                                 interest                          position or interest
                                                                                                                                   was held
      Yan Huang                              603 S. Miliken Ave, Ste G,                          Director                          03/07/2021 -
                                             Ontario, CA 91761                                                                     10/01/2021


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30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value
      30.1 Souxing Information
      .    Technology
             #56, Ruitian Road, Yuzhong
             Dist,                                                                                               04/2022 -          Withdrawals by
             Chongqing, China 56                       $765,000 (at least)                                       04/2023            Fudong Cao

             Relationship to debtor
             Affiliated entity in control of
             Debtor's finances


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 5, 2023

/s/ D. David Mickelson                                          D. David Mickelson
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Chief Restructuring Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




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